         Case 2:18-cv-02629-KHV-TJJ Document 12 Filed 05/23/19 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

JOE MACKEY,                                       )
                                                  )
                             Plaintiff,           )
                                                  )      CIVIL ACTION
v.                                                )
                                                  )      No. 18-2629-KHV
UNITED STATES OF AMERICA,                         )
                                                  )
                             Defendant.           )
                                                  )

                               JUDGMENT IN A CIVIL CASE

( )      JURY VERDICT. This action came before the Court for a trial by jury. The issues have
         been tried and the jury has rendered its verdict.

(X)      DECISION BY THE COURT. This action came to decision by the Court. The issues
         have been considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that pursuant to the Order Of Dismissal (Doc. #11)
filed May 23, 2019, this action is DISMISSED WITHOUT PREJUDICE.

Dated:    5/23/2019                        TIMOTHY M. O’BRIEN, CLERK

                                           s/ Andrea Schreyer
                                           Deputy Clerk
